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                            Cox Padmore Skolnik & Shakarchy LLP
                                                    Attorneys at Law



Laleh Hawa, Esq.
Admitted in
New York and
New Jersey

                                                       November 14, 2022


       Honorable Evelyn Padin
       United States District Court for the
       District of New Jersey
       Martin Luther King Building
       & U.S. Courthouse
       50 Walnut Street
       Newark, NJ 07102


                                              Re:      Green Star Energy Solutions, LLC v. Edison
                                                       Properties, LLC, et. al.
                                                       Docket No.: 2:21-cv-18267-EP-JSA (the “Action”)


       Dear Judge Padin:

               We are counsel of record for the Plaintiff in the Action. We have received notice from
       our client that it has discharged our firm as counsel in the Action.

               We have been advised by our client that it will be retaining new counsel. Our client has
       further requested that we secure a 60 day stay of all proceedings on its behalf so that it can retain
       new counsel in this matter.

               Accordingly, we respectfully request that this Honorable Court issue an order relieving
       us as counsel for the Plaintiff and for granting a 60 day stay to allow the Plaintiff to secure new
       counsel.

               Thank you.



                                                            Respectfully submitted,


                                                            Laleh Hawa



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                                                          www.cpsslaw.com
       ________________________________________________________________________________________________________
                                        A Partnership including Limited Liability Partnerships

                      Denver                           Great Neck                         Hackensack
                   303-839-9191                       516-829-1080                       201-489-0050
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Honorable Evelyn Padin                                        Cox Padmore Skolnik
November 14, 2022
Page 2                                                           & Shakarchy LLP
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